                                                                                                                                                                                                                                                                   MOR REPORTING                                   INSURANCE PROCEEDS
                                             Type             Date          Num                            Name                         Memo         Clr                 Split                 Inflows      Outflows      Balance                     Inflows       Outflows            Balance          Inflows         Outflows       Balance
  Condemnation DIP
                                                                                                                                                                                                                           52,863.11 Beg Balance
                                         Check             06/13/2022   Jul Int '22   Gust Rosenfeld PLC                          Jul Interest             Interest Expense                                 17,448.85     35,414.26
  Total Condemnation DIP                                                                                                                                                                             0.00    17,448.85     35,414.26 End Balance                      17,448.85
  DIP Insurance
                                                                                                                                                                                                                                0.00 Beg Balance                                                                                             0.00 Beg Balance
                                         Bank Debit        05/31/2022   Svc 0522      Bank Service Charge                         Monthly Svc Fee           Bank Service Charges                                 10.00         -10.00                                     10.00                               0.00           10.00         -10.00
                                         Bank Debit        06/30/2022   Svc 0622      Bank Service Charge                         Monthly Svc Fee           Bank Service Charges                                 10.00         -20.00                                     10.00                               0.00           10.00         -20.00
  Total DIP Insurance                                                                                                                                                                                0.00        20.00         -20.00 End Balance                         20.00                                                            -20.00 End Balance
  Operating Account DIP Post-Pet

                                                                                                                                                                                                                            2,137.81 Beg Balance
                                         Deposit           06/16/2022                                                             Deposit                  Note 7101 Holdings DIP Finance      2,500.00                    4,637.81                    2,500.00
                                         Deposit           06/27/2022                                                             Deposit                  Parking Rental Revenue                600.00                    5,237.81                      600.00
                                         Bill Pmt -Check   06/01/2022   1177          Eduardo Marin Gonzalez                                               20000 · Accounts Payable                            448.00      4,789.81                                     448.00
                                         Bill Pmt -Check   06/01/2022   1178          EPCOR                                                                20000 · Accounts Payable                            230.25      4,559.56                                     230.25
                                         Bill Pmt -Check   06/01/2022   1179          EPCOR                                                                20000 · Accounts Payable                            872.82      3,686.74                                     872.82
                                         Bill Pmt -Check   06/01/2022   1180          Southwest Gas                                                        20000 · Accounts Payable                             31.13      3,655.61                                      31.13
                                         Bill Pmt -Check   06/01/2022   1181          Southwest Gas                                                        20000 · Accounts Payable                             53.13      3,602.48                                      53.13
                                         Bill Pmt -Check   06/01/2022   1182          Southwest Gas                                                        20000 · Accounts Payable                             31.13      3,571.35                                      31.13
                                         Bill Pmt -Check   06/10/2022   1183          Gentree LLC                                                          20000 · Accounts Payable                            250.00      3,321.35                                     250.00
                                         Bill Pmt -Check   06/16/2022   1184          Eduardo Marin Gonzalez                                               20000 · Accounts Payable                            448.00      2,873.35                                     448.00
                                         Bill Pmt -Check   06/20/2022   1185          APS                                                                  20000 · Accounts Payable                             11.20      2,862.15                                      11.20
                                         Bill Pmt -Check   06/20/2022   1186          APS                                                                  20000 · Accounts Payable                             73.96      2,788.19                                      73.96
                                         Bill Pmt -Check   06/20/2022   1187          APS                                                                  20000 · Accounts Payable                            200.93      2,587.26                                     200.93
                                         Bill Pmt -Check   06/20/2022   1188          APS                                                                  20000 · Accounts Payable                             29.26      2,558.00                                      29.26
                                         Bill Pmt -Check   06/20/2022   1189          APS                                                                  20000 · Accounts Payable                             59.19      2,498.81                                      59.19
                                         Bill Pmt -Check   06/20/2022   1190          APS                                                                  20000 · Accounts Payable                             42.17      2,456.64                                      42.17
                                         Bill Pmt -Check   06/20/2022   1191          APS                                                                  20000 · Accounts Payable                            114.31      2,342.33                                     114.31
                                         Bill Pmt -Check   06/20/2022   1192          City of Scottsdale                                                   20000 · Accounts Payable                             98.12      2,244.21                                      98.12
                                         Bill Pmt -Check   06/20/2022   1193          EPCOR                                                                20000 · Accounts Payable                            233.71      2,010.50                                     233.71
                                         Bill Pmt -Check   06/20/2022   1194          EPCOR                                                                20000 · Accounts Payable                            879.50      1,131.00                                     879.50
                                         Bill Pmt -Check   06/20/2022   1195          Town of Paradise Valley Municipal Service                            20000 · Accounts Payable                            144.00        987.00                                     144.00
                                         Bill Pmt -Check   06/28/2022   1196          Southwest Gas                                                         20000 · Accounts Payable                             31.13        955.87                                      31.13
                                         Bill Pmt -Check   06/28/2022   1197          Southwest Gas                                                         20000 · Accounts Payable                             53.18        902.69                                      53.18
                                         Bill Pmt -Check   06/28/2022   1198          Southwest Gas                                                         20000 · Accounts Payable                             31.13        871.56                                      31.13
                                         Bill Pmt -Check   06/29/2022   1199          Eduardo Marin Gonzalez                                               20000 · Accounts Payable                            448.00        423.56                                     448.00
  Total Operating Account DIP Post-Pet                                                                                                                                                          3,100.00      4,814.25        423.56 End Balance        3,100.00       4,814.25
  Pre-Petition DIP Checking
                                                                                                                                                                                                                               64.78 Beg Balance
                                         Bank Debit        05/03/2022   Svc 0522      Bank Service Charge                         Monthly Svc Fee           Bank Service Charges                                148.48         -83.70                                    148.48
                                         Bank Debit        06/02/2022   Svc 0622      Bank Service Charge                         Monthly Svc Fee           Bank Service Charges                                201.04        -284.74                                    201.04
                                         Deposit           06/10/2022                 Transfer from Operating Account                                       Transfer Clearing                     250.00                       -34.74                     250.00
                                         Bank Debit        06/30/2022                 Charge Off Account                                                    Charge Off Account                     34.74                        -0.00                      34.74
  Total Pre-Petition DIP Checking                                                                                                                                                                 284.74        349.52          -0.00 End Balance                        349.52
  Sponsor DIP Loan
                                                                                                                                                                                                                              200.00 Beg Balance
                                         Deposit           06/29/2022                 Fidelity National Title                     Close of Escrow Settlement Proceeds                        2,430,729.67                2,430,929.67               2,430,729.67
  Total Sponsor DIP Loan                                                                                                                                                                                                 2,430,929.67 End Balance


TOTAL                                                                                                                                                                                           3,384.74     22,632.62   2,466,747.49               2,434,114.41     22,632.62
                                                                                                                                                                                                                                                       Receipts    Disbursemts


                                                                                                                                                                                                                                                                                    Unused DIP Loan
                                                                                                                                                                                                                                                                      2,402.59      Balance 05/31/22
                                                                                                                                                                                                                                                                                     DIP Loan funds
                                                                                                                                                                                                                                                                                    utilized for Cash
                                                                                                                                                                                                                                                                      (4,563.77)         shortfall
                                                                                                                                                                                                                                                                                   Additional DIP Loan
                                                                                                                                                                                                                                                                      2,500.00           Funding
                                                                                                                                                                                                                                                                                    Unused DIP Loan
                                                                                                                                                                                                                                                                        338.82      Balance 06/30/22
                                 ATTACHMENT



Explanation for Part 7(g):

                   Debtor In Possession (“DIP”) Loan
       On August 13, 2021, Debtor Gentree, LLC (“Debtor” or “Gentree”) filed a
Motion to Approve §364(b) Unsecured Financing for Debtor [docket entry (“DE”)
30]. After hearings on August 18 and August 31, 2021, the Court approved the
Motion [DE 45 and 64]. The order authorized a DIP loan from Gentree’s member,
7101 Holdings, LLC on an unsecured basis. The loan is for up to $120,000, on an as-
needed basis, with interest accruing at 2% per annum. The DIP loan’s purpose is to
provide funds to remediate the resort property from the storm damage it incurred and
for other operational and ordinary business expenses and costs. $76,500 of the DIP
loan has been funded since September 2021. $25,524 was used as of December 31,
2021, $7,621 additional DIP loan funds were utilized as of the January 31, 2022,
$32,274 additional DIP loan funds were utilized as of February 28, 2022, $4,552
additional DIP loan funds were utilized as of March 31, 2022, $3,997 additional DIP
loan funds were utilized as of April 30, 2022, $26,129 additional DIP loan funds were
utilized as of May 31, 2022, and $4,564 additional DIP loan funds were utilized as of
June 30, 2022. The cumulative total DIP loan funded to Gentree has been $105,000
and the total DIP loan funds utilized utilized as of June 30, 2022 is $104,661, leaving
a cash balance of $339. Thus far, the DIP loan has been used to pay utilities, repairs
and maintenance costs on the resort property, and court approved legal expenses.


                         Condemnation Proceeds
       On October 21, 2021, the Court entered an Order [DE 89] approving on an
interim basis, Gentree’s use of the Condemnation Proceeds that were the subject of
its Motion for Order Authorizing Use of Cash Collateral [DE 82 and 83]. The Order
permitted Gentree to make its monthly interest payment to the secured lender of the
resort property, Smoke Tree Resort LLC, in the amount of $17,448.85. Gentree then
used those funds and timely made that payment for the month of October 2021.
       On November 16, 2021, the Court granted Gentree’s and the lender’s
Stipulated Order Resolving Gentree’s Pending Motion for Order Authorizing Use of
Cash Collateral [DE 110], which permitted Gentree to use the Condemnation
Proceeds to make its monthly interest payments to the lender for the months of
November 2021, December 2021, January 2022, February 2022, March 2022, April
2022, May 2022, and June 2022. Gentree made timely payments for those months
(and as reflected in Part 4(h) for the current MOR reporting period).
       On June 29, 2022, the property was sold and the lender was paid-in-full.
"DIP Sale Proceeds"
